Case 3:17-cv-00072-NKM-JCH Document 166 Filed 01/03/18 Page 1 of 2 Pageid#: 760
                                                                                          01/03/2018



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division

 ELIZABETH SINES, et al.,                       )
      Plaintiffs,                               )       Civil Action No. 3:17cv00072
                                                )
 v.                                             )       ORDER
                                                )
 JASON KESSLER, et al.,                         )       By:    Joel C. Hoppe
      Defendants.                               )       United States Magistrate Judge

        Before the Court is Plaintiffs’ Motion to Strike Defendant Loyal White Knights of the Ku

 Klux Klan’s Answer. ECF No. 155. Defendant has not filed a response to the Motion.

        Plaintiffs’ Complaint asserts claims against a number of Defendants arising out of events

 that occurred in Charlottesville on August 11 and 12, 2017. ECF No. 1. The Complaint identifies

 Defendant Loyal White Knights of the Ku Klux Klan (“LWK”) as an unincorporated association

 based in North Carolina. Compl. ¶ 44. On December 11, 2017, Amanda Barker filed a “Response

 to Summons” on behalf of the LWK denying the allegations in the Complaint. ECF No. 146.

 Mrs. Barker did not note her appearance as an attorney on behalf of the LWK. Although she

 identified herself as the “Imperial Kommander” of the LWK, ECF No. 146-1, she did not

 indicate that she is a licensed attorney. In their Motion, Plaintiffs’ counsel represent that they

 have searched the Virginia and North Carolina attorney directories and have not located Mrs.

 Barker on their rolls. Although an individual may represent himself or herself, “a corporation

 may appear in the federal courts only through licensed counsel.” Rowland v. Calif. Men’s

 Colony, 506 U.S. 194, 202–03 (1993). This rule “applies equally to all artificial entities.” Id. at

 202. Because LWK is an unincorporated association, and Mrs. Barker does not appear to be a

 licensed attorney, she may not represent LWK in this Court.




                                                    1
Case 3:17-cv-00072-NKM-JCH Document 166 Filed 01/03/18 Page 2 of 2 Pageid#: 761




        Accordingly, Defendant LWK is hereby DIRECTED to retain a licensed attorney and

 have that attorney note an appearance in this matter and file a proper responsive pleading within

 fourteen (14) days of entry of this Order. See W.D. Va. Gen. R. 6(a)–(d), (i). Failure to comply

 with this Order will result in the “Response to Summons” being stricken and default being

 entered against LWK.

        Plaintiffs’ Motion, ECF No. 155, is hereby GRANTED in part.

        It is so ORDERED.

        The Clerk shall deliver a copy of this Order to counsel of record and to Mrs. Barker.



                                              ENTER: January 3, 2018



                                              Joel C. Hoppe
                                              United States Magistrate Judge




                                                 2
